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8
                  IN THE UNITED STATES DISTRICT COURT
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               FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11
12                                           Case No. 20-CR-00133-AB
      UNITED STATES OF AMERICA,
13
                        Plaintiff,
14                                           ORDER OF DETENTION
                   v.
15
      ARA FERMANYAN,
16
                        Defendant.
17
18
                                             I.
19
            The Court conducted a detention hearing:
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             ❑    On motion ofthe Government [18 U.S.C. § 31420(1)] in a case:
21
             allegedly involving:
22
                 ()a crime of violence.
23
                 ()an offense with a maximum sentence of life imprisonment or
24
                  death.
25
     //
26
     //
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~
,
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 1               ()a narcotics or controlled substance offense with the maximum

2                 sentence often or more years.

3                ( )any felony —where defendant convicted oftwo or more prior

4                 offenses described above.

5                ( )any felony that is not otherwise a crime of violence that involves a
6                 minor victim, or possession of a firearm or destructive device or any

7                 other dangerous weapon, or a failure to register under 18 U.S.C.

8                 § 2250.

9
10          O     On motion by the Government or on the Court's own motion
11   [18 U.S.C. § 3142(fl(2)] in a case allegedly involving, on further allegation by the

12   Government of:
13                (X)a serious risk that defendant will flee
14                ()a serious risk that the defendant will( )obstruct or attempt to

15                obstruct justice;( )threaten, injure or intimidate a prospective witness
16                or juror, or attempt to do so.
17
18          ❑ The Court concludes that the Government is entitled to a rebuttable
19   presumption that no condition or combination of conditions will reasonably assure
20   the defendant's appearance as required and the safety or any person or the
21   community [18 U.S.C. § 3142(e)(2)].
22
23                                           II.

24          ~ The Court finds that no condition or combination of conditions will
25   reasonably assure: ~ the appearance ofthe defendant as required.
26                       ~ the safety of any person or the community.
27          ❑ The Court finds that the defendant has not rebutted by sufficient evidence
28   to the contrary the presumption provided by statute.

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2                                            III.

3          The Court has considered:(a)the nature and circumstances of the offenses)

4    charged, including whether the offense is a crime of violence, a Federal crime of

5    terrorism, or involves a minor victim or a controlled substance, firearm, explosive,

6    or destructive device;(b)the weight of evidence against the defendant;(c)the

7    history and characteristics ofthe defendant; and(d)the nature and seriousness of

8    the danger to any person or the community. [18 U.S.C. § 3142(g)] The Court also

9    considered all the evidence adduced at the hearing and the arguments,the

10   arguments of counsel, and the report and recommendation of the U.S. Pretrial

11   Services Agency.

12                                           IV.

13         The Court bases its conclusions on the following:

14         ~ As to risk ofnon-appearance: defendant is currently incarcerated on state

15   charges and was brought to federal court pursuant to a writ of habeas corpus ad

16   prosequendum.

17         ~ As to danger to the community: defendant is currently incarcerated on

18   state charges and was brought to federal court pursuant to a writ of habeas corpus

19   ad prosequendum; instant allegations.

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4                                                   V.

 5         ❑      The Court finds a serious risk that the defendant will

6                 ❑     obstruct or attempt to obstruct justice.

 7                ❑     threaten, injure or intimidate a prospective witness or juror, or

8                       attempt to do so.

9          The Court bases its conclusions on the following:

10
11                                            VI.

12         IT IS THEREFORE ORDERED that the defendant be detained until trial.

13   The defendant will be committed to the custody of the Attorney General for

14   confinement in a corrections facility separate, to the extent practicable, from

15   persons awaiting or serving sentences or being held in custody pending appeal.

16   The defendant will be afforded reasonable opportunity for private consultation

17   with counsel. On order of a Court ofthe United States or on request of any

18   attorney for the Government, the person in charge of the corrections facility in

19   which defendant is confined will deliver the defendant to a United States Marshal

20   for the purpose of an appearance in connection with a court proceeding.

21   [18 U.S.C. § 3142(1)]

22                                                                 'a1.    ~'.'"""~
                                                         +~          ~
     Dated: 10/13/2020
23
                                            HON. ROZELLA A. OLIVER
24                                          UNITED STATES MAGISTRATE JUDGE
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